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14                    UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16

17     VPN.COM LLC,                        Case No.
                                           2:22-cv-04453-AB-MAR
18                        Plaintiff;
19
             v.                            STIPULATION OF
20                                         VOLUNTARY DISMISSAL
       George Dikian et al.,
21
                          Defendants.
22

23
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           IT IS HEREBY STIPULATED AND AGREED, by and between
 1

 2   the Parties, though undersigned counsel, that pursuant to Rule

 3   41(a)(1)(A)(ii), the above-captioned action be and hereby is settled and

 4   dismissed as against Defendant Eitan Z. a/k/a George Dikian, with
 5
     prejudice, without costs, and without payment being made by either party.
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 7         Respectfully Submitted on November 20, 2023:

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     ________________________                    /s/ Michael Rodenbaugh
                                               ___________________________
10
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